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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
ENRIQUE ZAMARRIPA, §
Plaintiff, §
vs. § Civil Action No. 3:16-CV~3109~S
FARRAKHAN, et al., §
Defendants. §

FINAL JUDGMEN'I`

This Judgment is issued pursuant to FED. R. CIV. P. 58(a).

'l`his action came on for consideration by the Court, and the issues having been duly
considered and a decision duly rendered,

lt is ORDERED, ADJUDGED and DECREED that:
l. The plaintiff s claims against Deray McKesson are DISMISSED without prejudice for lack
of subject matter jurisdiction
2. The plaintiff s claims against the remaining defendants are sua sponte DISMISSED without

prejudice for lack of Subject matter jurisdictionl

3. The taxable costs of court, as calculated by the clerk of the court, are assessed against the
plaintiff
4. The clerk of court shall transmit a true copy of this Judgment and the Order Accepting the

Findings and Reeommenclation of the United States Magistrate Judge to all parties.

SIGNED this § /C§Hy of March, 2019.

UN'ITED STATES DISTRICT JUDGE

   

 

 

 

